929 F.2d 692Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Willie Avon JACKSON, Plaintiff-Appellant,v.Benny S. SHARPE, Scott Brewer, Unknown Judge, Thomas W.Seay, Jack Poe, Robert Briston, Nancy G. Rorie,Samuel T. Currin, Preston Cornelius,Unknown Magistrate, JohnnyBlue, Defendants-Appellees.
    No. 90-6936.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1991.Decided March 26, 1991.
    
      Appeal from the United States District Court for the Middle District of North Carolina, at Rockingham.  N. Carlton Tilley, Jr., District Judge.  (CA-90-308-3)
      Willie Avon Jackson, appellant pro se.
      M.D.N.C.
      AFFIRMED.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Willie Avon Jackson appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.1   Jackson v. Sharpe, CA-90-308-3 (M.D.N.C. Sept. 13 and Oct. 24, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        1
         In view of our disposition of this case, we deny Jackson's motion for appointment of counsel
      
    
    